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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

In Re:      Oil Spill by the Oil Rig           ]                     MDL No. 2179
            “Deepwater Horizon” in the         ]
            Gulf of Mexico, on April 20, 2010  ]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]


                                       NOTICE OF SUBMISSION

         Plaintiff Dennis Prejean on behalf of himself and others similarly situated, by and

through undersigned counsel, hereby give Notice of Submission of Plaintiff’s Motion for

Conditional Certification and Court-Authorized Notice Pursuant to Section 216(b) of the FLSA.

This Motion is submitted for the next available hearing date before the Honorable Judge Barbier

on August 15, 2012 at 9:30 a.m.



Date: 7/18/2012                                Respectfully submitted,

                                                      /s/ David I. Moulton
                                               By: _____________________________
                                                      David I. Moulton
                                                      Texas State Bar No. 24051093
                                                      S.D. of Texas No. 608063
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                                                                                               Ex. 4
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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Notice of Submission of Plaintiff’s Motion
for Conditional Certification and Court-Authorized Notice Pursuant to Section 216(b) of the
FLSA has been served on all counsel by electronically uploading the same to Lexis Nexis File &
Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of Louisiana
by using the CM/ECF System, which will send a notice of electronic filing in accordance with
the procedures established in MDL 2179, on this 18th day of July, 2012.


                                                    /s/ David I. Moulton
                                                    ______________________________
                                                    David I. Moulton




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